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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION


IN RE: ONE APUS CONTAINER SHIP
INCIDENT ON NOVEMBER 30, 2020                                                         MDL No. 3028


                                       TRANSFER ORDER


         Before the Panel: Eleven Non-Vessel Owning Common Carrier (NVOCC) defendants 1
move under 28 U.S.C. § 1407 to centralize this litigation in the Southern District of New York.
This litigation consists of forty-nine actions pending in ten districts, as listed on Schedule A. 2 The
parties have informed the Panel of nine related actions pending in two districts. 3 All responding
parties support centralization in the Southern District of New York.

        On the basis of the papers filed and the hearing session held, we find that the actions listed
on Schedule A involve common questions of fact, and that centralization in the Southern District
of New York will serve the convenience of the parties and witnesses and promote the just and
efficient conduct of this litigation. These actions arise from an incident involving the ultra large
container vessel ONE Apus. This vessel allegedly encountered severe weather on November 30,
2020, resulting in a substantial roll during which approximately 1,800 containers were lost
overboard. Approximately 1,000 additional containers were damaged by the collapse of the
container stacks. The actions on the motion fall into two categories: (a) actions brought by either
subrogated underwriters or the cargo shippers or consignees of the allegedly lost or damaged
cargoes, who seek to recoup their losses; and (b) actions for indemnification by NVOCCs against
the vessel interests. All the actions will involve common questions of fact as to the events of
November 30, 2020, and the cause or causes of the cargo loss. Centralization will eliminate
duplicative discovery; prevent inconsistent pretrial rulings; and conserve the resources of the
parties, their counsel, and the judiciary.




1
  Moving defendants are Apex Logistics International Inc.; Orient Express Container Co., Ltd.;
Flexport International LLC; Dimerco Express (USA) Corp.; RS Logistics Limited; Oregon
International Air Freight Co.; Air Tiger Express (ASIA) Inc.; Apex Maritime Co. (LAX), Inc.;
Apex Maritime Co. (ORD), Inc.; Apex Maritime Co., Inc.; and Rohlig USA, LLC.
2
    Two additional actions on the motion were subsequently dismissed.
3
 These and any other related actions are potential tag-along actions. See Panel Rules 1.1(h), 7.1,
and 7.2.
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         The Southern District of New York is an appropriate transferee district for this litigation.
The district is requested by movants and supported by all responding parties. Nearly half of the
related actions (27 of 58) are pending in this district. The parties assert that the ONE Apus calls at
ports located in or near the Southern District of New York, which will facilitate discovery. We
assign this litigation to the Honorable Paul A. Engelmayer, an experienced transferee judge with
the capacity to take on this litigation. We are confident that Judge Engelmayer will steer this
litigation on a prudent and expeditious course.

       IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the Southern District of New York are transferred to the Southern District of New York and, with
the consent of that court, assigned to the Honorable Paul A. Engelmayer for coordinated or
consolidated pretrial proceedings.


                                           PANEL ON MULTIDISTRICT LITIGATION




                                                            Karen K. Caldwell
                                                                Chair

                                       Nathaniel M. Gorton                Matthew F. Kennelly
                                       David C. Norton                    Roger T. Benitez
                                       Dale A. Kimball                    Madeline Cox Arleo
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IN RE: ONE APUS CONTAINER SHIP
INCIDENT ON NOVEMBER 30, 2020                                   MDL No. 3028


                                  SCHEDULE A

                Central District of California

     TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA v. AMERICAN
          COMMERCIAL TRANSPORT, INC., ET AL., C.A. No. 2:21−08784
     CERTAIN UNDERWRITERS AT LLOYDS OF LONDON SUBSCRIBING TO
          POLICY NO. 600230 v. EXPEDITORS INTERNATIONAL OF
          WASHINGTON, INC., ET AL., C.A. No. 2:21−08951
     ATLANTIC SPECIALTY INSURANCE COMPANY, ET AL. v. APEX LOGISTICS
          INTERNATIONAL, INC., ET AL., C.A. No. 2:21−08974
     ASHTEAD HOLDINGS, INC. v. DE WELL CONTAINER SHIPPING, INC., ET AL.,
          C.A. No. 2:21−08985
     LIBERTY MUTUAL INSURANCE COMPANY, ET AL. v. CNK LINE AND
          LOGISTICS CO., LTD, ET AL., C.A. No. 2:21−09007
     ACE AMERICAN INSURANCE COMPANY, ET AL. v. AMERICA PACIFIC
          CONTAINER LINE, INC., ET AL., C.A. No. 2:21−09083
     NAVIGATORS MANAGEMENT COMPANY, INC. v. APEX LOGISTICS
          INTERNATIONAL, INC., ET AL., C.A. No. 2:21−09159
     STATE NATIONAL INSURANCE COMPANY, INC. v. DE WELL CONTAINER
          SHIPPING, INC., ET AL., C.A. No. 2:21−09290
     BACKER EHP, INC., ET AL. v. M/V ONE APUS, ET AL., C.A. No. 2:21−09605
     FEDERAL INSURANCE COMPANY v. TOPOCEAN CONSOLIDATION SERVICE
          LOS ANGELES INC., C.A. No. 2:21−10016

                Northern District of California

     TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA v. FLEXPORT
          INTERNATIONAL LLC, ET AL., C.A. No. 3:21−08642
     STARR INDEMNITY & LIABILITY INSURANCE COMPANY, ET AL. v. APEX
          MARITIME CO. (LAX), INC., ET AL., C.A. No. 3:21−08879
     INDEMNITY INSURANCE COMPANY OF NORTH AMERICA v. FLEXPORT
          INTERNATIONAL LLC, C.A. No. 3:21−08957
     PEAG LLC, ET AL. v. FLEXPORT INTERNATIONAL LLC, C.A. No. 3:21−09376
     MEYER CORPORATION, ET AL. v. APEX MARITIME CO., INC.,
          C.A. No. 4:21−08947
     SME CONSOLIDATED LTD., ET AL. v. APEX MARTIME CO., INC., ET AL.,
          C.A. No. 4:21−09283
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           Northern District of Illinois

FEDERAL INSURANCE COMPANY v. AIT WORLDWIDE LOGISTICS, INC.,
     C.A. No. 1:21−06383
NAVIGATORS MANAGEMENT COMPANY, INC. v. R.I.M. LOGISTICS, LTD.,
     C.A. No. 1:21−06406
INDEMNITY INSURANCE COMPANY OF NORTH AMERICA, ET AL. v.
     DIMERCO EXPRESS (U.S.A.) CORP., C.A. No. 1:21−06498

           District of New Jersey

TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA v. DYNAMIC
     WORLDWIDE LOGISTICS, INC., C.A. No. 2:21−19924
LIBERTY MUTUAL INSURANCE COMPANY v. AMERICAN INTERNATIONAL
     CARGO SERVICE, INC., C.A. No. 2:21−20152

           Eastern District of New York

NAVIGATORS MANAGEMENT COMPANY, INC. v. AIRPORT CLEARANCE
     SERVICE, INC., C.A. No. 2:21−06856

           Southern District of New York

MSIG MINGTAI INSURANCE CO., LTD., ET AL. v. DANMAR LINES LTD.,
     C.A. No. 1:21−07994
TOKIO MARINE NEWA INSURANCE CO., LTD. v. ORIENT EXPRESS
     CONTAINER CO., LTD., C.A. No. 1:21−09194
ATLANTIC SPECIALTY INSURANCE COMPANY, ET AL. v. CHINA INT'L
     FREIGHT CO., LTD., C.A. No. 1:21−09195
STARR INDEMNITY & LIABILITY COMPANY, ET AL. v. TRUST FREIGHT
     SERVICES, INC., ET AL., C.A. No. 1:21−09370
TRAVELERS PROPERTY CASUALTY COMPANY OF AMERICA v. ALL−WAYS
     FORWARDING INT'L, INC., ET AL., C.A. No. 1:21−09388
NAVIGATORS MANAGEMENT COMPANY, INC., ET AL. v. KINTETSU WORLD
     EXPRESS, INC., ET AL., C.A. No. 1:21−09546
M+R FORWARDING PTE. LTD. v. BENKEL INTERNATIONAL PTE LTD.,
     C.A. No. 1:21−09752
HANESBRANDS, INC., ET AL. v. EFL CONTAINER LINES, LLC, ET AL.,
     C.A. No. 1:21−09858
FEDERAL INSURANCE COMPANY v. US PACIFIC TRANSPORT, INC.,
     C.A. No. 1:21−09935
FEDERAL INSURANCE COMPANY v. ORIENT EXPRESS CONTAINER CO.,
     LTD., C.A. No. 1:21−09975
DE WELL CONTAINER SHIPPING, INC. v. CHIDORI SHIP HOLDING LLC,
     ET AL., C.A. No. 1:21−09980
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FEDERAL INSURANCE COMPANY v. LAUFER GROUP INTERNATIONAL, LTD.,
      ET AL., C.A. No. 1:21−09992
THE PEOPLE'S INSURANCE COMPANY OF CHINA (HONG KONG), LTD. v.
      DAMCO INTERNATIONAL B.V., ET AL., C.A. No. 1:21−10113
ALL−WAYS FORWARDING INT'L, INC. v. M/V ONE APUS, ET AL.,
      C.A. No. 1:21−10154
ROANOKE INSURANCE GROUP, INC. v. KUEHNE NAGEL INC., ET AL.,
      C.A. No. 1:21−10172
HUATAI PROPERTY & CASUALTY INSURANCE CO., LTD. QINGDAO BRANCH
      v. YANG MING MARINE TRANSPORT CORP., C.A. No. 1:21−10173
XL INSURANCE COMPANY, (AXA), ET AL. v. ALL−WAYS FORWARDING
      INT'L, INC., ET AL., C.A. No. 1:21−10177
NATIONAL UNION FIRE INSURANCE COMPANY OF PITTSBURGH, PA v.
      KUEHNE + NAGEL, INC., ET AL., C.A. No. 1:21−10183
ATLANTIC SPECIALTY INSURANCE COMPANY v. ALL−WAYS FORWARDING
      INT'L, INC., ET AL., C.A. No. 1:21−10344
STARR INDEMITY & LIABILITY COMPANY, INC. v. AIRPORT CLEARANCE
      SERVICE, INC., C.A. No. 1:21−10554
DHL GLOBAL FORWARDING (THAILAND) LIMITED, ET AL. v. VANGUARD
      LOGISTICS SERVICES (HONG KONG) LTD., ET AL., C.A. No. 1:21−10598

           District of Oregon

NAVIGATORS MANAGEMENT COMPANY, INC., ET AL. v. OREGON
     INTERNATIONAL AIR FREIGHT CO., C.A. No. 3:21−01703

           Middle District of Tennessee

NAVIGATORS MANAGEMENT COMPANY, INC. v. WORLDBRIDGE LOGISTICS,
     INC., C.A. No. 3:21−00883

           Southern District of Texas

STARR INDEMNITY & LIABILITY COMPANY v. CRANE WORLDWIDE
     LOGISTICS LLC, C.A. No. 4:21−03809

           Western District of Washington

LIBERTY MUTUAL INSURANCE COMPANY v. EXPEDITORS INTERNATIONAL
     OCEAN, INC., ET AL., C.A. No. 2:21−01593
NAVIGATORS MANAGEMENT COMPANY, INC. v. EXPEDITORS
     INTERNATIONAL OF WASHINGTON INC., C.A. No. 2:21−01598
STARR INDEMNITY & LIABILITY COMPANY v. EXPEDITORS
     INTERNATIONAL OCEAN, INC., ET AL., C.A. No. 2:21−01606
